      Case 4:20-cv-05640-YGR        Document 1421-1    Filed 04/01/25     Page 1 of 2




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16    Attorneys for Defendant APPLE INC.
17                               UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                         OAKLAND DIVISION
20    EPIC GAMES, INC.                              Case No. 4:20-cv-05640-YGR
21          Plaintiff, Counter-defendant            DECLARATION OF MARNI GOLDBERG
22                                                  IN SUPPORT OF APPLE INC.’S
                          v.                        RESPONSES TO OBJECTIONS TO
23                                                  SPECIAL MASTER RULINGS ON APPLE
      APPLE INC.,                                   INC.’S PRODUCTIONS OF RE-
24                                                  REVIEWED PRIVILEGED DOCUMENTS
            Defendant, Counterclaimant
25                                                  The Honorable Thomas S. Hixson
26

27
     DECLARATION OF MARNI GOLDBERG IN                                   CASE NO. 4:20-CV-05640-YGR
28   SUPPORT OF APPLE INC.’S RESPONSES TO
     OBJECTIONS TO SPECIAL MASTER RULINGS ON
     APPLE INC.’S PRODUCTIONS OF RE-REVIEWED
     PRIVILEGED DOCUMENTS
      Case 4:20-cv-05640-YGR           Document 1421-1           Filed 04/01/25   Page 2 of 2




 1   I, Marni Goldberg, hereby declare as follows:

 2          1.      I am a Corporate Communications Director at Apple Inc. (“Apple”). I have been in that

 3   role since October 2020. I have personal knowledge of the facts stated below and, if called as a witness,

 4   would testify competently thereto.

 5          2.      I understand that a document entitled “040423 Epic meeting injunction.docx” was

 6   collected from my files for this litigation and that Apple has asserted privilege over that document.

 7          3.      Based on my review of that document and to the best of my recollection, the document

 8   comprises notes that I took at a meeting on April 4, 2023 regarding planning for the then-forthcoming

 9   decision from the Ninth Circuit in this case.

10          4.      The organizer of that meeting was Kate Adams (the General Counsel of Apple), and other

11   attendees included Heather Grenier, Kyle Andeer, and Alanna Rutherford. At that time, Ms. Grenier,

12   Mr. Andeer, and Ms. Rutherford were all in-house counsel at Apple.

13

14   I declare under penalty of perjury under the laws of the United States of America that the foregoing is

15   true and correct.

16   Dated: April 1, 2025                            Respectfully submitted,

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18                                                            By: ________________________
19                                                               Marni Goldberg

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     DECLARATION OF MARNI GOLDBERG IN                     1                    CASE NO. 4:20-CV-05640-YGR
28   SUPPORT OF APPLE INC.’S RESPONSE TO
     OBJECTIONS TO SPECIAL MASTER RULINGS ON
     APPLE INC.’S PRODUCTIONS OF RE-REVIEWED
     PRIVILEGED DOCUMENTS
